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12 Gary Quinones
13
                       IN THE UNITED STATES DISTRICT COURT
14
                             FOR THE DISTRICT OF ARIZONA
15
16 Gary Quinones,
                                                   Case No.: CV-16-04002-PHX-DJH
17                  Plaintiff,
18
           vs.
19
20 I.C. System Incorporated,                       NOTICE OF SETTLEMENT
21                  Defendant.
22
23
           Plaintiff, Gary Quinones, and Defendant, I.C. System Incorporated, have
24
25 reached a settlement of all claims and intend to file a Stipulation of Dismissal with
26 prejudice within sixty (60) days.
27
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 1                                       KENT LAW OFFICES
 2
 3 DATED: May 3, 2018
                                         By: /s/ Trinette G. Kent
 4
                                         Trinette G. Kent
 5                                       Attorneys for Plaintiff,
 6                                       Gary Quinones

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